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            EXHIBIT I
UCC FINANCING STATEMENT
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FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
    CSC
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                               FILING NUMBER: 20-0034110203
    Corporation Service Company                                                                             FILING DATE: 07/09/2020     07:18 PM
    251 LITTLE FALLS DRIVE                                                                                  DOCUMENT NUMBER: 982115490001
    Wilmington, DE 19808                                                                                    FILED: Texas Secretary of State
                                                                                                            IMAGE GENERATED ELECTRONICALLY FOR XML FILING
    USA                                                                                                     THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1 DEBTOR S NAME - Provide only one Debtor name (la or lb) (use exact, full name; do not om          modify, or abbreviate any part of the Debtor's name); if any pad of the Individual
Debtors name will not fit in line lb, leave all of item 1 blank, check here rand provide the Intim ual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        as ORGANIZATION'S NAME

  OR
         Kornbluth Texas LLC
        it; INDIVIDUAL'S                                         FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)                      SUFFIX


lc MAILING ADDRESS                                              CITY                                                STATE             POSTAL CODE                      COUNTRY
 302 W Bay Area Blvd                                              Webster                                            TX                77598                            USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any pad of the Individual
Debtors name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        2a ORGANIZATION'S NAME

  OR
        2b INDIVIDUAL S SURNAME                                  FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)                      SUFFIX


2c. MAILING ADDRESS                                             CITY                                                STATE             POSTAL CODE                      COUNTRY


3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name
        3a. ORGANIZATION'S NAME
         U.S. Small Business Administration
  OR
        3b INDIVIDUAL S SURNAME                                  FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)                      SUFFIX


3c MAILING ADDRESS                                              CITY                                                STATE             POSTAL CODE                      COUNTRY
 10737 Gateway West, #300                                         El Paso                                            TX                79935                            USA
4. COLLATERAL: This financing statement covers the following collateral
All tangible and intangible personal properly, including, but not limited to
(a) inventory, (b) equipment, (c) instruments, including promissory notes (d)
chattel paper, including tangible chattel paper and electronic chattel paper,
(e) documents, (f) letter of credit rights, (g) accounts, including health-care
insurance receivables and credit card receivables, (h) deposit accounts, (i)
commercial tort claims, Q) general intangibles, including payment intangibles
and software and (k) as -extracted collateral as such terms may from time to time
be defined in the Uniform Commercial Code. The security interest Borrower
grants includes all accessions, attachments, accessories, parts, supplies and
replacements for the Collateral, all products, proceeds and collections thereof
and all records and data relating thereto. 231807 8010




5. Check only it applicable and check ally one box. Collateral is r held in a Trust (see UCC1Ad item 17 and Instructions) r being administered by a Decedent's Personal Representative
6a Check only if applicable and check only one box:                                                                 6b. Check only if applicable and check only one box
I-Public-Finance Transaction rManufactured-Home Transaction FA Debtor is a Transmitting Utility                      FAgricultural Lien      Non-UCC Filing
7 ALTERNATIVE DESIGNATION Of applicable)' P Lessee/Lessor P Consignee/Consignor P Seller/Buyer P Bailee/Bailor P Licensee/Licensor
8 OPTIONAL FILER REFERENCE DATA:
  1191780208j

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